         Case 1:21-cr-00050-CRC Document 34 Filed 06/07/21 Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                         :    CRIMINAL NO. 21-CR-050-01-03 (CRC)
                                                  :
           v.                                     :
                                                  :
 JENNIFER LEIGH RYAN,                             :    VIOLATIONS:
 JASON LEE HYLAND,                                :    18 U.S.C. § 1752(a)(1)
 KATHERINE STAVELEY SCHWAB,                       :    (Entering and Remaining in a Restricted
                                                  :    Building)
                          Defendants.             :    18 U.S.C. § 1752(a)(2)
                                                  :    (Disorderly and Disruptive Conduct in a
                                                  :    Restricted Building)
                                                  :    40 U.S.C. § 5104(e)(2)(D)
                                                  :    (Violent Entry and Disorderly Conduct in
                                                  :    a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(G)
                                                  :    (Parading, Demonstrating, or Picketing in
                                                  :    a Capitol Building)
                                                  :    40 U.S.C. § 5104(e)(2)(F)
                                                  :    (Act of Physical Violence in the Grounds)

                                     I NFO RMA TI ON

       The United States Attorney charges that at all relevant times:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JENNIFER LEIGH

RYAN, JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, did knowingly

enter and remain in the United States Capitol, a restricted building, without lawful authority to do

so.

       (Entering and Remaining in a Restricted Building, in violation of Title 18, United States
       Code, Section 1752(a)(1))

                                         COUNT TWO

       On or about January 6, 2021, within the District of Columbia, JENNIFER LEIGH

RYAN, JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, knowingly, and
         Case 1:21-cr-00050-CRC Document 34 Filed 06/07/21 Page 2 of 3




with intent to impede and disrupt the orderly conduct of Government business and official

functions, engaged in disorderly and disruptive conduct in and within such proximity to, the United

States Capitol, a restricted building, when and so that such conduct did in fact impede and disrupt

the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building, in violation of Title 18,
       United States Code, Section 1752(a)(2))

                                        COUNT THREE

       On or about January 6, 2021, within the District of Columbia, JENNIFER LEIGH

RYAN, JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, willfully and

knowingly engaged in disorderly and disruptive conduct in any of the Capitol Buildings with the

intent to impede, disrupt, and disturb the orderly conduct of a session of Congress or either House

of Congress.

       (Violent Entry and Disorderly Conduct in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(D))

                                         COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, JENNIFER LEIGH

RYAN, JASON LEE HYLAND, and KATHERINE STAVELEY SCHWAB, willfully and

knowingly paraded, demonstrated, and picketed in a Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40,
       United States Code, Section 5104(e)(2)(G))




                                                2
         Case 1:21-cr-00050-CRC Document 34 Filed 06/07/21 Page 3 of 3




                                       COUNT FIVE

       On or about January 6, 2021, within the District of Columbia, KATHERINE STAVELEY

SCHWAB, willfully and knowingly engaged in an act of physical violence in the Grounds or any

of the Capitol Buildings.

       (Act of Physical Violence in the Grounds, in violation of Title 40, United States Code,
       Section 5104(e)(2)(F))


                                                  Respectfully submitted,

                                                  CHANNING D. PHILLIPS
                                                  Acting United States Attorney
                                                  D.C. Bar No. 415793


                                           By:    /s/ Frances E. Blake
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